           Case 2:21-cv-02113-JAR-TJJ Document 10 Filed 05/07/21 Page 1 of 2



                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF KANSAS


      JARED NALLY and
      THE INDIAN LEADER ASSOCIATION,

                             Plaintiff,
                                                                No. 21-2113-JAR-TJJ
      v.

      RONALD J. GRAHAM, in his individual and
      official capacity as President of Haskell Indian
      Nations University,

      HASKELL INDIAN NATIONS UNIVERSITY,

      TONY L. DEARMAN, in his official capacity as
      Director of the Bureau of Indian Education, and

THE B BUREAU OF INDIAN EDUCATION,

                             Defendants.

                       CLERK’S FOURTEEN DAY EXTENSION OF TIME
                           TO ANSWER OR OTHERWISE PLEAD

           By order of the Clerk, the United States of America is hereby granted an additional fourteen

   (14) days to answer or otherwise plead to Plaintiff’s complaint, pursuant to Local Rule 77.2(a)(2).

   The United States’ answer is due May 18, 2021. The time to answer has not expired. The time

   for responding is hereby extended to June 1, 2021.

                       7th day of May, 2021.
           DATED this ____



                                                         TIMOTHY M. O’BRIEN
                                                         Clerk of the United States District Court

                                                               /s/ Lisa Bateman
                                                         By: _______________________________
                                                         DEPUTY CLERK
       Case 2:21-cv-02113-JAR-TJJ Document 10 Filed 05/07/21 Page 2 of 2



Submitted

DUSTON J. SLINKARD
Acting United States Attorney
District of Kansas

s/ Christopher Allman
CHRISTOPHER ALLMAN
Assistant United States Attorney
KS St. Ct. No. 14225
500 State Avenue, Suite 360
Kansas City, Kansas 66101
PH: (913) 551-6730
FX: (913) 551-6541
Email: Chris.Allman@usdoj.gov

       Attorneys for the Defendants
